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                                                                                                                                                     January 12, 2021

Via ECF

Hon. John G. Koeltl
United States District Judge
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

                       Re:               Mason v. Reed's Inc. dlb/a Virgil's Sodas
                                         Case No. l:18-cv-10826-JGK

Dear Judge Koeltl:

        As the Court is aware, the undersigned represents the Plaintiff in connection with the above-
referenced matter.

        Unfortunately, l have tested positive for Covid-19 . Accordingly, I am requesting a short
adjournment, preferably to the Court's next available date, of oral argument of the pending motion to
dismiss that has been scheduled for January 14, 2021.

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                                                                                                                        Michael J. Gabrielli, Esq.


cc:      David Scharf
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         Fullerton, CA 92831
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         (949) 429-2249
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